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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF LOUISIANA
                              LAFAYETTE DIVISION


UNITED STATES OF AMERICA                             CASE NO. 6:21-MJ-00012-01 WDLA
                                                              1:21-MJ-00056 D.C.
VERSUS

GORDON VAUGHN                                        MAGISTRATE JUDGE HANNA

                                   MINUTES OF COURT:
                                     Initial Appearance
 Date:               January 14, 2021         Presiding: Magistrate Judge Patrick J. Hanna
 Court Opened:       4:00 p.m.                Courtroom Deputy: Evelyn Alexander
 Court Adjourned:    4:25 p.m.                Court Reporter:       Zoom Recording
 Statistical Time:    :20                     Courtroom:            Video Conference
                                              Probation Officer:    Eric Villermin

                                       APPEARANCES
 Daniel J McCoy (AUSA)                       For   United States of America
 Cristie Gautreaux Gibbens (AFPD)            For   Vaughn Gordon, Defendant
 Vaughn Gordon, Defendant

                                       PROCEEDINGS

BEFORE COURT OPENED:
Defendant Interviewed by Pretrial Services Officer
Defendant Provided with Charging Document(s)
Pretrial Services Report Provided to Defendant

INITIAL APPEARANCE:
Initial Appearance on an Arrest Warrant from: District of Columbia
Defendant Sworn
Defendant and all counsel consented to the hearing being held via video conference
Defendant Advised of Charges, Maximum Penalties & Rights

Oral motion for appointed counsel by defendant.

Based on the information provided by the defendant, the court finds that defendant does not have
the financial resources to retain counsel. Order appointing the Office of the Public Defender to
represent defendant signed.

Reading of charging documents: Waived
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Identity Hearing: Waived
Preliminary Hearing: Waived

The government is not moving for detention

Bond Set: Personal Recognizance Appearance Bond Signed (AO98)
Order Setting Conditions of Release Signed (Modified AO199)

Defendant ordered released after processing by U.S. Marshal pending further proceedings.

Defendant ordered to appear before the District of Columbia on Friday, January 22, 2021 at
12:00 noon CST/1:00 p.m. EST for further proceedings. Counsel for Defendant advised that the
conference room at the Office of the Federal Public Defender in Lafayette, LA is available for
Defendant’s use for that appearance.

Defendant is requesting appointment of counsel for appearances before the District of Columbia.

FILINGS:
Order Appointing Counsel
Appearance Bond
Order Setting Conditions of Release
